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 1 MICHAEL W. BIEN – 096891                        OREN NIMNI*
   ERNEST GALVAN – 196065                           Mass. Bar No. 691821
 2 KARA J. JANSSEN – 274762                        AMARIS MONTES*
   GINGER JACKSON-GLEICH – 324454                   Md. Bar No. 2112150205
 3 ROSEN BIEN                                      D DANGARAN*
   GALVAN & GRUNFELD LLP                            Mass. Bar No. 708195
 4 101 Mission Street, Sixth Floor                 RIGHTS BEHIND BARS
   San Francisco, California 94105-1738            416 Florida Avenue N.W. #26152
 5 Telephone: (415) 433-6830                       Washington, D.C. 20001-0506
   Email:       mbien@rbgg.com                     Telephone: (202) 455-4399
 6              egalvan@rbgg.com                   Email:       oren@rightsbehindbars.org
                kjanssen@rbgg.com                               amaris@rightsbehindbars.org
 7              gjackson-gleich@rbgg.com                        d@rightsbehindbars.org
                                                   *
 8 SUSAN M. BEATY – 324048                             Pro hac vice applications pending
   CALIFORNIA COLLABORATIVE FOR
 9 IMMIGRANT JUSTICE
   1999 Harrison Street, Suite 1800
10 Oakland, California 94612-4700
   Telephone: (510) 679-3674
11 Email:       susan@ccijustice.org
12 Attorneys for Plaintiffs
13                               UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
15 CALIFORNIA COALITION FOR WOMEN                            Case No. 4:23-cv-4155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of            DECLARATION OF C
   themselves and all others similarly situated,             F    B         IN SUPPORT
17               Plaintiffs,
                                                             OF PLAINTIFFS’ MOTIONS FOR
                                                             PRELIMINARY INJUNCTION
18        v.                                                 AND PROVISIONAL CLASS
                                                             CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4316222 2]
               DECLARATION OF C      F   B         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 I, C      F    B        , declare:
 2                 1.     I have personal knowledge of the facts set forth herein, and if called as a
 3 witness, I could and would competently so testify. I make this declaration in support of
 4 Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5                 2.     I have been incarcerated at FCI Dublin since January 2016. In the past I was
 6 incarcerated by the Bureau of Prisons (BOP) at Carswell and Tallahassee. In the future
 7 BOP may transfer me to other BOP facilities but at any point I could be transferred back to
 8 FCI Dublin.
 9                 3.     FCI Dublin’s inadequate systems for preventing, detecting, and responding
10 to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
11 and put myself and other incarcerated persons at substantial, imminent risk of serious harm
12 from sexual assault, harassment, and retaliation from staff.
13                 4.     I have worked in Food Service on and off since August 2016. There, I
14 worked as a clerk, and I experienced and witnessed a significant amount of sexual abuse
15 and harassment. In light of this abuse, I left my position for some time in February 2022, I
16 told my counselor I couldn’t go back. I just returned this past April.
17                 5.     Officer O’Connor would sexually harass me and others in Food Service until
18 he was placed on administrative leave in Fall 2021. On one occasion, Officer O’Connor
19 asked me to cook him an omelet. He grabbed a cucumber and asked if I wanted to “take it
20 back to the unit.” I said, I don’t know what you mean. He said, “you know, well you’ve
21 been locked up for so long it may be a little big for you.” I was aware that O’Connor had
22 been reported for sexual harassment twice before and nothing happened, so I did not report
23 because I did not think anyone would do anything.
24                 6.     In August or September 2021, I saw Officer Jones receiving oral sex from a
25 woman who I knew to be his girlfriend in the warehouse, during the evening shift, between
26 12:30-6:30pm. I was in the back office doing paperwork at that time. This woman knew
27 that I saw them. She had her friends threaten me against reporting anything. Since that
28 time, those women have transferred.
     [4316222 2]                                          1
               DECLARATION OF C      F   B         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
                     PRELIMINARY INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
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 1                 7.    I also witnessed sexual abuse by Officer Smith on the housing units. He
 2 formerly was a counselor, but he was demoted due to allegations of sexual misconduct and
 3 became an officer. I worked with his wife in Food Service while that demotion was
 4 ongoing, so I knew the details. She told me that FCI Dublin had screwed up the
 5 investigation, and that the union protected him. She later transferred to work in a different
 6 BOP facility.
 7                 8.    Officer Smith was well known for his sexual misconduct. He would wear a
 8 cowboy hat and boots. After they demoted him instead of firing him, he would explain
 9 that he was “untouchable.” He acted with impunity. He would bring gifts for his
10 girlfriends from the outside. In September or October 2019, I also observed Officer Smith
11 go into a cell and watch two women have sex on C-Unit. After the incident, one of the
12 women told me that he said he wouldn’t write them up for having a sexual relationship if
13 they let him watch. She was extremely scared of him.
14                 9.    When I arrived at FCI Dublin in 2016, I was not provided adequate training
15 and information about how to respond to sexual abuse. I do not remember receiving any
16 training at all.
17                 10.   There is no effective way to confidentially report sexual assault and abuse by
18 staff at FCI Dublin. Staff at FCI Dublin prevent people from reporting sexual assault and
19 abuse by staff and retaliate against people who do report. For example, I knew that after a
20 woman reported O’Connor for making comments about her breasts, she lost her RDAP
21 status. He had power over SIS. The reporting system was part of the problem. In
22 addition, there is a general culture of retaliation. I only reported what I experienced and
23 witnessed to SIS and FBI in March 2023. It is very difficult to use the administrative
24 remedy process to report as well – they often do not have the BP-9, BP-10, or BP-11s. It is
25 so bad that I’ve started stockpiling them. Staff will ask you something like “what is this in
26 regards to?” when you ask for a form and give you a hard time about it to get people not to
27 report things.
28                 11.   When incarcerated persons report sexual abuse by staff, FCI Dublin and
     [4316222 2]                                      2
               DECLARATION OF C      F   B         IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR
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 1 BOP do not seriously investigate the reports. Investigations are frequently delayed and
 2 overseen by staff who know and work with the offending staff member. Generally nothing
 3 happens as a result. Officer Smith and Officer O’Connor are good examples of repeat
 4 offenders who were allowed to keep their positions despite repeated reports. While Officer
 5 O’Connor and Jones were on administrative leave, BOP was still accepting “bids” from
 6 them and other kitchen staff members who have been walked off pending investigations—
 7 including Officer St. Clair and Officer Kinlaw. My understanding is that Officer
 8 O’Connor was recently allowed to medically retire with full benefits.
 9                 12.   There is little to no confidential mental health care available to survivors of
10 sexual abuse and assault at FCI Dublin. I attempted suicide in March 2021. After that
11 occurred, I was provided monthly check ins with a psychiatrist. But in the past few weeks,
12 I’ve been dropped. I am asking for help, but I should not have to be scared.
13                 13.   There is little to no medical care available to survivors of sexual abuse and
14 assault at FCI Dublin. In November or December 2022, my medication was taken away,
15 and they tried to take away my heart medication. Our medical records are all screwed up.
16 I put in a call out with no response.
17                 14.   The camera system at FCI Dublin is inadequate. Just in the past few weeks,
18 I’ve just noticed cameras popping up all over Food Service where they were not before
19 which allowed all this abuse to happen, like in the warehouse. However, there are still no
20 cameras in the staff offices or in the refrigerator or freezer where abuse previously
21 occurred. Even if there are cameras, it is not clear that anyone is watching the footage.
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     [4316222 2]                                         3
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